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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION

UNITED S ATES OF AMERICA
             1                                *
                                              *
                       Plaintiffs,            *
                                              *
v.                                            *     1:17-CR-0034 (BKE)
                                              *                    Filed with Classified
REALITY EIGHWINNER                            *               Information Security Officer


                                                            ~~~~        uJM,;::£
                                              *
                           Defendant.         *
                                              *
* * * * * * * * * * * * * * * * * *           *

                                        NOTICE OF FILING

       Defor dant Reality Leigh Winner, through undersigned counsel, hereby notifies the Court

and Counset of Record, of the filing of the following document with the Classified Information

Security Of 1cer, on March 29, 2018:

                 NOTICE OF PROFFER REGARDING RULE 17 SUBPOENAS


Respectfull submitted,

Isl Thomas   k   Barnard

Joe D. Whj ley (Bar No. 756150)                   John C. Bell, Jr. (Bar No. 048600)
Admitted P~o Hae Vice                             Titus T. Nichols (Bar No. 870662)
Brett A. S~ itzer (Bar No. 554141)                BELL & BRIGHAM
BAKER, D~NELSON, BEARMAN,                         PO Box 1547
  CALDWLLL & BERKOWITZ, P.C.                      Augusta, GA 30903-1547
3414 Peac9tree Rd., NE Suite 1600                 (706) 722-2014
Atlanta, Gfl,.. 30326                             John@bellbrigham.com
(404) 571-qooo                                    Titus@bellbrigham.com
JWhitley@pakerdonelson.com
BSwitzer@bakerdonelson.com
        Case 1:17-cr-00034-JRH-BKE Document 245 Filed 03/30/18 Page 2 of 2



Matthew S. hester (La. Bar No. 36411)       Thomas H. Barnard (Az. Bar No. 020982)
Admitted Pr Hae Vice                        Admitted Pro Hae Vice
BAKER, D NELSON, BEARMAN,                   BAKER, DONELSON, BEARMAN,
  CALDW~LL & BERKOWITZ, P.C.                  CALDWELL & BERKOWITZ, P.C.
201 St. Charles Ave., Suite 3600            100 Light Street.
New Orlean~, LA 70170                       Baltimore, MD 21202
(504) 566-5300                              (410) 685-1120
MChester@ ,akerdonelson.com                 TBarnard@bakerdonelson.com


COUNSEL FOR DEFENDANT
REALITY EIGH WINNER




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